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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                           No. 21-5000MJ
10                  Plaintiff,
11   v.                                                  ORDER
12   Jacob Anthony Angeli Chansley,
13                  Defendant.
14
15           It has come to the Court’s attention that public reports have led to a

16   misunderstanding regarding a matter raised at Mr. Chansley’s initial appearance.

17          The Court’s record clearly reflects that Mr. Chansley’s lawyer reported in open

18   court that Mr. Chansley has a restrictive diet due to medical needs or religious beliefs, the

19   attorney was unsure whether the restrictive diet was due to medical or religious reasons,

20   and Mr. Chansley had not eaten since his arrest several days before. There was no mention

21   of the nature of the restrictive diet, nor is it be common for the Court to ask about the nature

22   of any dietary request (e.g., diabetic, kosher, etc.) in open court due to privacy concerns of

23   arrested persons. The Court directed that the defense attorney contact the United States

24   Marshal about the dietary issue to try to resolve it.

25          The Court did not order any specific diet for Mr. Chansley. The Court trusts that

26   the United States Marshal and Mr. Chansley’s attorney have already or will communicate

27   about the appropriate course of action regarding any legitimate dietary needs Mr. Chansley

28   may have.
 1           Accordingly,
 2           IT IS HEREBY ORDERED that the Court takes no additional action at this time.
 3           The Court finds excludable delay under 18 U.S.C. § 3161(h)____ from ____ to
 4   ____.
 5           Dated this 12th day of January, 2021.
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     Cc: USM
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